  Robert E. Chernicoff      CUNNINGHAM, CHERNICOFF                              Jordan D. Cunningham
  Bruce J. Warshawsky                                                                          (1951-
  David B. Dowling            & WARSHAWSKY, P.C.                        2022)
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                                     November 8, 2023

VIA ELECTRONIC FILING
The Honorable Henry W. Van Eck
United States Bankruptcy Court
for the Middle District of Pennsylvania
228 Walnut Street
Harrisburg, PA 17101

       RE:     Uptown Partners, LP d/b/a Governor’s Square
               Case Nos. 23-00988
               Motion to Approve Sale Procedures Revised Order
               Our File No. 910823

Dear Judge Van Eck:

               Enclosed is a revised order for the Motion to Approve Sale Procedures and Set
Final Hearing Date for the hearing scheduled for November 9, 2023 at 9:30 a.m.. This revised
order was prepared after discussions with the City of Harrisburg, Redevelopment Authority of the
City of Harrisburg and the U.S. Department of Housing and Urban Development and each of those
parties has consented to the form of the Order.

       We would request that the revised Order be entered, if so approved by the Court.

       Thank you.

                                                     Sincerely yours,

                                                     CUNNINGHAM, CHERNICOFF
                                                     & WARSHAWSKY, P.C.

                                                        /s/ Robert E. Chernicoff

                                                     Robert E. Chernicoff
REC/jjl
Enclosure
cc:    Peter Siegel
       Gregory B. Schiller, Esquire
       Clayton W. Davidson, Esquire
       Neil Grover, Esquire
       Jenna A. Ratica, Esquire
       Marielle Macher, Esquire
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